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8                         UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA
9

10   ADRIAN P. AISPURO,                     Civil Action No. CV23-2206 AFM
       Plaintiff,
11

12   v.
13                                          [PROPOSED] ORDER FOR THE
                                            STIPULATION FOR THE AWARD AND
14   KILOLO KIJAKAZI, Acting                PAYMENT OF ATTORNEY FEES AND
     Commissioner of Social Security,       EXPENSES PURSUANT TO THE
15     Defendant.                           EQUAL ACCESS TO JUSTICE ACT, 28
                                            U.S.C. §2412(d)
16

17         Based upon the parties’ Stipulation for the Award and Payment of Attorney
18   Fees and Expenses Pursuant to the Equal Access to Justice Act, 28 U.S.C. §2412(d),
19         IT IS ORDERED that attorney fees and expenses of $657.86 as authorized by
20   28 U.S.C. §2412(d), be awarded subject to the terms of the Stipulation.
21

22   DATED:      6/27/2023
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24                              _____________________________________________
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                                 THE HONORABLE ALEXANDER F. MACKINNON
                                         United States Magistrate Judge
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